           Case 8:05-cr-00447-SDM-AEP Document 29 Filed 10/05/06 Page 1 of 7 PageID 50
A 0 245B (Rev 06/05) Sheet 1 - Judgment in a Criminal Case



                                 UNITED STATES DISTRICT COURT
                                                             MIDDLE DISTRICT OF FLORIDA
                                                                  TAMPA DIVISION



UNITED STATES OF AMERICA                                              JUDGMENT IN A CRIMINAL CASE
                                                                      CASE NUMBER: 8:05-cr-447-T-23MAP
                                                                      USM NUMBER: 48602-018
VS.


RONNIE BROUGHTON
                                                                      Defendant's Attorney: Andrea Stubbs, pda

THE DEFENDANT:

X pleaded guilty to count FOUR of the Indictment.
-


TITLE & SECTION                           NATURE OF OFFENSE                           OFFENSE ENDED                      COUNT

21 U.S.C. 8 846                           Conspiracy to Distribute and Possess        February 2005                       FOUR
                                          With Intent to Distribute 50 Grams or
                                          More of Cocaine

        The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

  X Counts One and Three of the Indictment are dismissed in accordance with the plea agreement.

IT IS FURTHER ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.

If ordered to pay restitution, the defendant must notify the court and United States Attorney of any material change in economic
circumstances.


                                                                                       Date of Imposition of Sentence: October 5, 2006




                                                                                                                                         I
                                                                                           STEVEN D. MERRYDAY
                                                                                      UNITED STATES DISTRICT JUDGE

                                                                                      DATE: October              ,2006
           Case 8:05-cr-00447-SDM-AEP Document 29 Filed 10/05/06 Page 2 of 7 PageID 51
A 0 245B (Rev 06/05) Sheet 2 - Imprisonment (Judgment in a Criminal Case)
Defendant:           RONNIE BROUGHTON                                                                              Judgment - Page 2 of 7
Case No.:            8:05-cr-447-T-23MAP

                                                                IMPRISONMENT

                The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of TWO HUNDRED SIXTY-TWO (262) MONTHS as to Count Four of the Indictment.




  X The court makes the following recommendations to the Bureau of Prisons: (I) confinement at FCI Coleman, Florida, or
in the alternative FCI Jesup, Georgia, and (2) participation in the 500-Hour Comprehensive Drug Treatment Program while
incarcerated.



-
X The defendant is remanded to the custody of the United States Marshal.
-The defendant shall surrender to the United States Marshal for this district.

           - at - a.m./p.m. on -.
           - as notified by the United States Marshal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

           - before 2 p.m. on -,
           - as notified by the United States Marshal.
           - as notified by the Probation or Pretrial Services Office.




                                                                       RETURN
           I have executed this judgment as follows:




           Defendant delivered on                                                  to

-     at                                                                          , with a certified copy of this judgment.



                                                                                         United States Marshal

                                                                            By:
                                                                                         Deputy United States Marshal
           Case 8:05-cr-00447-SDM-AEP Document 29 Filed 10/05/06 Page 3 of 7 PageID 52
A 0 245B (Rev. 06/05) Sheet 3 - Supervised Release (Judgment in a Criminal Case)

Defendant:            RONNIE BROUGHTON                                                                            Judgment - Page 3of 7
Case No. :            8:05-cr-447-T-23MAP
                                                              SUPERVISED RELEASE

       Upon release from imprisonment, the defendant shall be on supervised release for a term of SIXTY (60) MONTHS as to
Count Four of the Indictment.

        The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release, the defendant shall not commit another federal, state, or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. 8 92 1.

           The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
           controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
           authorizes random drug testing not to exceed 104 tests per year.

           The defendant shall cooperate in the collection of DNA as directed by the probation officer.

           If this judgment imposes a fine or restitution it is a condition of supervised release that the defendant pay in accordance with
           the Schedule of Payments sheet of this judgment.

           The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
           conditions on the attached page.
                                               STANDARD CONDITIONS OF SUPERVISION
           the defendant shall not leave the judicial district without the permission of the court or probation officer;

           the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days of each
           month;

           the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;

           the defendant shall support his or her dependents and meet other family responsibilities;

           the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training. or other
           acceptable reasons;

           the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;

           the defendant shall refrain from excessive use of alcohol and shall not purchasc, possess, use, distribute, or administer any controlled
           substance or any paraphernalia rclated to any controlled substances, except as prescribed by a physician;

           the defendant shall not frequent places where controlled substances are illegally sold. used, distributed, or administered;

           the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
           felony, unless granted permission to do so by the probation officer;

           the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;

           the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;

           the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and

           as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
           or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant's compliance
           with such notification requirement.
           Case 8:05-cr-00447-SDM-AEP Document 29 Filed 10/05/06 Page 4 of 7 PageID 53

A 0 245B (Rev. 06/05) Sheet 3C - Supervised Release (Judgment in a Criminal Case)
-   -



Defendant:            RONNIE BROUGHTON                                                                  Judgment - Page 4 of 7
Case No. :            8:05-cr-447-T-23MAP

                                               SPECIAL CONDITIONS OF SUPERVISION

           The defendant shall also comply with the following additional conditions of supervised release:


X
-          The defendant shall participate in a program (outpatient and/or inpatient) for treatment of narcotic addiction or drug or alcohol
           dependency and follow the probation officer's instructions regarding the implementation of this court directive. This program
           may include testing for the detection of substance use or abuse not to exceed an amount determined reasonable by the
           Probation Office's Sliding Scale for Substance Abuse Treatment Services. Upon completion of a drug or alcohol dependency
           treatment program, the defendant is directed to submit to testing for the detection of substance use or abuse not to exceed 104
           times per year.

-
X          The defendant shall participate in a mental health treatment program and follow the probation officer's instructions regarding
           the implementation of this court directive. Further, the defendant shall be required to contribute to the costs of services for
           such treatment in an amount determined reasonable by the probation officer based on ability to pay or availability of third
           party payment and in conformance with the Probation Office's Sliding Scale for Mental Health Treatment Services.
           Case 8:05-cr-00447-SDM-AEP Document 29 Filed 10/05/06 Page 5 of 7 PageID 54
A 0 245B (Rev 06/05)Sheet 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

Defendant:           RONNIE BROUGHTON                                                                  Judgment - Page 5
                                                                                                                       --   of 7
Case No. :           8:05-cr-447-T-23MAP

                                                 CRIMINAL MONETARY PENALTIES

          The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                Assessment                                Fine                         Total Restitution

           Totals:              $100.00                                   $ waived                     $


-          The determination of restitution is deferred until                  .     An Amended Judgment in a Criminal Case ( A 0 245C)will
           be entered after such determination.
-          The defendant must make restitution (including community restitution) to the following payees in the amount listed
           below.
           If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
           specified otherwise in the. priority order or .percentage pa ment column below. However, pursuant to 18 U. S.C. 5
           3664(i), all non-federal victims must be paid before the 8mted States.


Name of Pavee                                        Total Loss*                     Restitution Ordered               Priority or Percentape




                                Totals:

            Restitution amount ordered pursuant to plea agreement $
            The defendant must pay interest on a fine or restitution of more than $2,500, unless the restitution or fme is paid in full
            before the fifteenth day after the date of the judgment, ursuant to 18 U. S.C. 5 36 12(f). All of the payment options on Sheet
            6 may be subject to penalties for delinquency and def!ult, pursuant to 18 U.S.C. 8 3612(g).
            The court determined that the defendant does not have the ability to pay interest and it is ordered that:
           -          the interest requirement is waived for the - fine                   - restitution.
           -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110, 1lOA, and 113A of Title 18 for the offenses
committed on or after September 13, 1994, but before April 23, 1896.
           Case 8:05-cr-00447-SDM-AEP Document 29 Filed 10/05/06 Page 6 of 7 PageID 55
A 0 245B (Rev 06/05) Sheet 6 - Schedule of Payments (Judgment in a Criminal Case)

Defendant:           RONNIE BROUGHTON                                                      Judgment - Page 6of 7
Case No. :           8:05-cr-447-T-23MAP


                                                          SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.           X        Lump sum payment of $ 100.00 due immediately, balance due
                                 -not later than                         , Or
                                 -in accordance - C, - D, - E or - F below; or
B.         -          Payment to begin immediately (may be combined with -C, -D, or -F below): or
C.         -          Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $              over a
                      period of          (e.g ., months or years), to commence              days (e.g ., 30 or 60 days) after the
                      date of this judgment; or
D.         -          Payment in equal                (e.g., weekly, monthly, quarterly) installments of $               over a
                      period of
                                   , (e.g., months or years) to commence                     (e.g. 30 or 60 days) after release
                      from imprisonment to a term of supervision; or
E.         -         Payment during the term of supervised release will commence within                          (e.g., 30 or
                     60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                     the defendant's ability to pay at that time, or
F.         -          Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
fjureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-          Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-          The defendant shall pay the cost of prosecution.
-          The defendant shall pay the following court cost(s):
-          The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
        Case 8:05-cr-00447-SDM-AEP Document 29 Filed 10/05/06 Page 7 of 7 PageID 56
A 0 245B (12103) Sheet 7 - Denial of Federal Benefits (Judgment in a Criminal Case)
Defendant:       RONNIE BROUGHTON                                                     Judgment - Page 7of 7
Case No.:        8:05-cr-447-T-23MAP


                                           DENIAL OF FEDERAL BENEFITS
                                 (For Offenses Committed On or After November 18, 1988)

FOR DRUG TRAFFICKERS PURSUANT TO 21 U.S.C. 5 862

        IT IS ORDERED that the defendant shall be:

 ineligible for all federal benefits for a period of

 ineligible for the following benefits for a period of

        (specify benefit(s)):




-X      Having determined that this is the defendant's third or subsequent conviction for distribution of controlled
substances, IT IS ORDERED that the defendant shall be permanently ineligible for all federal benefits.




         Pursuant to 21 U.S.C. 8 862(d), this denial of federal benefits does not include any retirement, welfare, Social
Security, health, disability, veterans benefit, public housing, or other similar benefit, or any other benefit for which
payments or services are required for eligibility. The clerk is responsible for sending a copy of this page and the first page
of this judgment to:


                   U.S. Department of Justice, Office of Justice Programs, Washington, D.C        . 20531
